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 7
 8
 9                             UNITED STATES DISTRICT COURT
10                         NORTHERN DISTRICT OF CALIFORNIA
11
12 CHRISTOPHER J. CORDOVA,                                Case No. 25-cv-05207-DMR

13                Plaintiff,                              HON. DONNA M. RYU
14
         vs.                                              DISCOVERY MATTER
15
16 JOHN DOE 1 d/b/a                                       EX PARTE APPLICATION FOR
   www.youtube.com/@Destination2Truth,                    LEAVE TO SERVE A THIRD-
17
                                                          PARTY SUBPOENA PRIOR TO A
18                Defendant.                              RULE 26(F) CONFERENCE;
19                                                        MEMORANDUM OF POINTS AND
                                                          AUTHORITIES IN SUPPORT
20                                                        THEREOF
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                                                      1
     Ex Parte Application for Leave to Serve a Third-Party Subpoena Prior to a Rule 26(f) Conference
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 1 TO ALL PARTIES AND THEIR COUNSEL OF RECORD:
 2         PLEASE TAKE NOTICE that Plaintiff Christopher J. Cordova (“Plaintiff”) will and
 3 hereby does apply to the Court ex parte for leave to issue a third-party subpoena on Google
 4 LLC d/b/a YouTube to identify Defendant prior to a Fed. R. Civ. P. 26(f) conference.
 5         This application is based upon: the Memorandum of Points and Authorities; the
 6 concurrently-attached Declaration of Randall S. Newman; upon all pleadings and evidence
 7 on file in this matter; and upon such additional evidence or arguments as may be accepted
 8 by the Court.
 9
10         Dated:         July 4, 2025                          Respectfully submitted,
11
12                                                      By:     s/ Randall S. Newman
                                                                Randall S. Newman, Esq.
13
14                                                              Attorney for Plaintiff,
                                                                Christopher J. Cordova
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 1                       MEMORANDUM OF POINTS AND AUTHORITIES
 2            Pursuant to Fed. R. Civ. P. 26(d)(1), Plaintiff Christopher J. Cordova (“Plaintiff”)
 3 hereby respectfully submits this Memorandum of Points and Authorities in support of its
 4 ex parte application for leave to serve a third-party subpoena prior to the Rule 26(f)
 5 conference.
 6                                             INTRODUCTION
 7            This is a copyright infringement action arising from the unauthorized use of
 8 Plaintiff's original audiovisual work titled Another Chad Exposed!!! Worthless Denver
 9 Cops…ASSAULTED!!! (the “Registered Video”) by an anonymous YouTube user
10 operating under the alias “Destination2Truth (the “D2T Channel”)”1. The 48-minute. 14-
11 second         copyrighted      video,     captured        and      published     by   Plaintiff   on   his
12 @DenverMetroAudits YouTube channel, documents a real-time encounter between
13 Plaintiff, members of the Denver Police Department, and a third-party bystander. It was
14 created to expose potential police misconduct and promote government accountability
15 through public dissemination.2
16            The John Doe Defendant, who operates the D2T Channel, republished more than
17 90% of the Registered Video (excluding the intro) (the “Infringing Video”). The Infringing
18 Video includes three uninterrupted segments of 9:39, 8:06, and 9:45, respectively—
19 comprising a substantial portion of the Registered Video. The John Doe Defendant did not
20 obtain a license, did not seek permission, and added no commentary, criticism, parody, or
21 transformative content during these extended portions.3
22
23
24   1
         https://www.youtube.com/@Destination2Truth.
25   2
         Plaintiff’s video is available at the URL https://youtu.be/bhgHsPl4Mr0?si=F-7EgMg0bBZiy-QY.
26
     3
         The Infringing Video was posted to the URL https://www.youtube.com/watch?v=YLUC9S3DtyA but
27 was removed by YouTube after Plaintiff filed a DMCA takedown notice pursuant to 17 U.S.C. § 512(c).
28 Defendant did not file a counter-notice pursuant to 17 U.S.C. 512(g).
                                                          3
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 1         Because the D2T Channel is pseudonymous and maintained via Google services
 2 (including YouTube and Gmail), Plaintiff cannot identify or serve the John Doe Defendant
 3 without Court-authorized discovery. Accordingly, Plaintiff respectfully moves for leave to
 4 serve a proposed Rule 45 subpoena on Google LLC (the “Proposed Subpoena”). The
 5 Proposed Subpoena is attached as Exhibit E to the Declaration of Randall S. Newman
 6 (“Newman Decl.”). Plaintiff will use this limited discovery solely to investigate and serve
 7 the Defendant and proceed with this action. Without such relief, Plaintiff cannot protect
 8 his exclusive rights under the Copyright Act and cannot move forward with this litigation.
 9 I.     Legal Standard Governing Expedited Discovery Requests to Identify an
          Anonymous Defendant.
10
          Federal Rule of Civil Procedure 26(d)(1) generally prohibits discovery before the
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   Rule 26(f) conference, except by court order. Courts in this District routinely grant
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   expedited discovery where a plaintiff demonstrates good cause—especially in cases
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   involving anonymous online defendants whose identities are not otherwise ascertainable.
14
   In Columbia Insurance Co. v. seescandy.com, 185 F.R.D. 573 (N.D. Cal. 1999), the court
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   established a widely adopted framework for authorizing early discovery to identify
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   anonymous internet users. Under seescandy, a plaintiff must: (1) identify the defendant
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   with sufficient specificity to show that the defendant is a real person or entity subject to
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   suit; (2) describe all previous attempts to locate and identify the defendant; (3) establish a
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   prima facie case against the defendant, including a plausible claim for copyright
20
   infringement; and (4) show that the requested discovery is necessary and narrowly tailored
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   to uncover the defendant’s identity. Id. at 578–80.
22
          These requirements are intended to balance a plaintiff’s right to pursue legitimate
23
   claims with a defendant’s right to remain anonymous until the claim is substantiated.
24
   Courts applying seescandy have emphasized that such discovery should be “limited and
25
   focused” to ensure minimal intrusion into privacy. See also Gillespie v. Civiletti, 629 F.2d
26
   637, 642 (9th Cir. 1980) (“[W]here the identity of alleged defendants [is] not known prior
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28
                                                       4
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 1 to the filing of a complaint…the plaintiff should be given an opportunity through discovery
 2 to identify the unknown defendants…”).
 3          As shown below, Plaintiff satisfies all four seescandy criteria and respectfully
 4 requests leave to serve the Proposed Subpoena on Google, LLC to obtain the information
 5 sought therein.
 6 II.      ARGUMENT
 7          1. The Operator of the Destination2Truth Channel is a Person or Entity
               Capable of Being Sued.
 8
            Where the identity of a defendant is unknown at the time of filing, a plaintiff should
 9
     be permitted discovery to identify the unknown party and to identify the individual
10
     responsible for the infringing activity. Civiletti, 629 F.2d 637, 642 (9th Cir. 1980). Here,
11
     Plaintiff has identified the operator of the YouTube channel “Destination2Truth” as a real
12
     person or entity engaged in ongoing commercial activity. Based upon information and
13
     belief, the channel is actively monetized and publicly lists the contact email address
14
     La1Familiainc@gmail.com. (Newman Decl. ¶¶ 3-4, Ex. A). Another YouTube channel—
15
     Familia TV, https://www.youtube.com/@FAMILIA-TV, uses the same email address and
16
     displays an identical logo, strongly suggesting both channels are operated by the same
17
     individual or entity. (Id., Ex. B).
18
            Both channels feature voiceover narration by the same distinctive speaker, who can
19
     be heard delivering commentary—including over Plaintiff’s copyrighted footage—using
20
     an identifiable vocal style and cadence. (Newman Decl. ¶ 4). These facts strongly indicate
21
     that the operator of the D2T channel is a real person or business entity engaged in
22
     consistent, monetized online activity across multiple channels. Accordingly, Plaintiff
23
     respectfully requests that the subpoena to Google encompass both channels, as the
24
     registration data for either may confirm the identity of the John Doe Defendant.
25
                   2.      Plaintiff Previously Attempted to Contact the Channel Owner.
26
            The only contact information publicly available on the Destination 2Truth (“D2T”)
27
     YouTube channel is the email address La1Familiainc@gmail.com. (Newman Decl. ¶ 3,
28
                                                        5
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 1 Ex. A). The channel does not list a physical address, phone number, or any linked website
 2 or social media accounts that could assist in identifying the operator. (Id.).
 3           On June 24, 2025, Plaintiff’s counsel sent an email to the listed Gmail address,
 4 attaching a copy of the complaint and requesting that the channel owner contact counsel to
 5 discuss the matter and potentially resolve it without court involvement. (Newman Decl. ¶
 6 5, Ex. C). The email was sent successfully and was not returned as undeliverable. (Id.)
 7 However, the operator of the D2T channel has not responded and has made no effort to
 8 contact Plaintiff’s counsel. (Id.) This email represents Plaintiff’s good-faith attempt to
 9 identify the John Doe Defendant through informal means before seeking early discovery.
10 3.        Plaintiff Has Made a Prima Facie Claim of Copyright Infringement.
11           Plaintiff owns the exclusive rights to Registered Video and has registered the
12 copyright with the U.S. Copyright Office. (Newman Decl. ¶ 6, Ex. D). To state a claim for
13 copyright infringement, Plaintiff must allege: (1) ownership of a valid copyright, and (2)
14 copying of original elements of the work. Feist Pub., Inc. v. Rural Tel. Serv. Co., 499 U.S.
15 340, 361 (1991).
16           Plaintiff’s Complaint satisfies both elements. First, Plaintiff is the original author
17 and owner of the video titled Another Chad Exposed!!! Worthless Denver
18 Cops…ASSAULTED!!!, which captures real-time, expressive footage of a police encounter
19 and was published on Plaintiff’s YouTube channel @DenverMetroAudits. (Compl. ¶¶ 8-
20 10). Plaintiff has registered this video with the U.S. Copyright Office. (Newman Decl. ¶ 6,
21 Ex. D).
22           Second, the Complaint alleges that Defendant copied substantial portions of the
23 Registered Video without permission, including three uninterrupted segments lasting 9:39,
24 8:06, and 9:45, respectively—amounting to over 42 minutes of expressive content
25 reproduced nearly verbatim. (Compl. ¶¶ 12-16). The copied portions include not only
26 factual events but Plaintiff’s original creative expression, such as camera framing,
27 narration, real-time commentary, editing choices, and pacing. Defendant’s use was not
28 transformative, as the Infringing Video contains minimal to no commentary during large
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 1 stretches of Plaintiff’s footage. (Id.). These facts, taken as true, are more than sufficient to
 2 establish a prima facie claim of copyright infringement.
 3 4.        The Discovery Request is Narrowly Tailored
 4           Plaintiff’s Proposed Subpeona is narrowly tailored to seek only the limited
 5 information necessary to identify the Doe Defendant. (Newman Decl. Ex. E). The proposed
 6 Subpoena to Google, LLC seeks basic subscriber registration information, IP address logs,
 7 and other information associated with the YouTube channel “Destination2Truth,” as well
 8 as a second channel linked to the same public email address (La1Familiainc@gmail.com).
 9 (Newman Decl. ¶ 7, Ex. E).
10           The Proposed Subpeona does not request content, communications, or any
11 information beyond what is reasonably calculated to identify the individual or entity
12 responsible for the infringing upload. It is narrowly limited in scope, directed only to
13 Google, and concerns two specific channels tied to a single email address. This is precisely
14 the type of early discovery routinely approved in cases involving anonymous defendants.
15 See Columbia Ins. Co. v. seescandy.com, 185 F.R.D. 573, 578 (N.D. Cal. 1999) (“[T]he
16 discovery request must be narrowly tailored to minimize the impact on the First
17 Amendment rights of the Doe defendants.”).
18           Without this narrowly targeted information, Plaintiff cannot amend the complaint,
19 serve the John Doe Defendant, or proceed with the case. The attached subpoena represents
20 the least intrusive means to advance this litigation in a fair and proportionate manner. In
21 short, the Subpoena seeks no more information than is necessary to accomplish service,
22 precisely the function Rule 26(d) is intended to support in Doe-defendant cases.
23 5.    Plaintiff Could Have Pursued a Subpoena using 17 U.S.C. § 512(h) Without
         Court Intervention.
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         Under 17 U.S.C. § 512(h), a copyright owner may obtain a subpoena to identify an
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   alleged infringer directly from the Clerk of Court, without filing a lawsuit, making any
26
   evidentiary showing, or demonstrating personal jurisdiction over the individual. Plaintiff
27
   submitted a valid takedown notice under § 512(c) and owns a registered copyright for the
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 1 infringed video content. (Newman Decl. Ex. D). As such, Plaintiff would have been
 2 entitled to a § 512(h) subpoena by simply submitting a short form and sworn declaration.
 3         Under these circumstances, it would be incongruous to deny Plaintiff the limited
 4 discovery necessary to serve the complaint, when a far less transparent mechanism exists
 5 to achieve the same result without judicial oversight. Granting early discovery here upholds
 6 the spirit of due process and reinforces the Court’s supervisory role.
 7         This case is distinguishable from anonymous file-sharing lawsuits where courts in
 8 this District have expressed concern about privacy rights and the potential for abuse. Here,
 9 Plaintiff filed a legitimate takedown pursuant to 17 U.S.C. § 512(c), holds a registered
10 copyright, and seeks to identify a commercial operator of a public, monetized YouTube
11 channel that republished Plaintiff’s copyrighted work for profit. Unlike copyright “troll”
12 cases involving alleged downloads of pornographic content, this action is transparently
13 filed, supported by a registered work, and does not seek coercive settlements or exploit
14 sealed proceedings.
15         Moreover, a § 512(h) subpoena may be issued by the Clerk of any federal district
16 court, without regard to the alleged infringer’s residence. (17 U.S.C. § 512(h)(1) states that
17 “…the copyright owner…may request the clerk of any United States district court to issue
18 a subpoena to a service provider…”). Accordingly, it would be inconsistent to deny
19 discovery here when the same unmasking relief could be obtained through § 512(h),
20 without any jurisdictional showing at all.
21         By proceeding via a public complaint instead of an administrative subpoena,
22 Plaintiff has invoked full judicial oversight and afforded the Doe Defendant the protections
23 of Rule 45 and the Federal Rules of Civil Procedure. This approach promotes transparency,
24 fairness, and due process, and it should not be penalized for demanding more procedural
25 protection, not less.
26         In the alternative, should the Court determine that early discovery is unavailable in
27 this action, Plaintiff respectfully requests that the case be stayed to permit the filing of a
28 separate proceeding under § 512(h) solely to identify the Doe Defendant. However,
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 1 requiring such procedural gymnastics would unnecessarily burden both Plaintiff and the
 2 judiciary, given that the requested information can be obtained more efficiently—and with
 3 greater fairness—through targeted discovery in this properly filed case.
 4                                            CONCLUSION
 5         For the foregoing reasons, Plaintiff respectfully requests that the Court grant leave
 6 to serve the proposed subpoena on Google, LLC, in the form attached as Exhibit __, for
 7 the limited purpose of identifying the Doe Defendant. Plaintiff has stated a prima facie
 8 claim of copyright infringement, has shown that the discovery sought is both necessary and
 9 narrowly tailored, and cannot proceed without identifying the individual responsible for
10 the infringing conduct. Early discovery is therefore warranted under applicable law.
11
12
13 Dated: July 4, 2025
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